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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA

     vs.                                    Criminal Action 2:17-cr-110(1)
                                            JUDGE JAMES L. GRAHAM
JOSE BARSENAS-RODRIGUEZ



                          REPORT AND RECOMMENDATION


     The United States of America and defendant José Barsenas-
Rodriguez entered into a plea agreement whereby defendant agreed to
enter a plea of guilty to Count 1 of the Indictment, which charges him
with conspiracy to possess with intent to distribute more than one (1)
kilogram of heroin in violation of 21 U.S.C. §§ 846, 841.1           On October
5, 2017, Defendant, accompanied by his counsel and with the assistance
of a Spanish interpreter, appeared for a change of plea proceeding.
Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.        See United States v. Cukaj,
2001 WL 1587410 at *1 (6th Cir. 2001) [Magistrate Judge may accept a
guilty plea with the express consent of the defendant and where no
objection to the report and recommendation is filed]; United States v.
Torres, 258 F.3d 791, 796 (8th Cir. 2001); United States v. Dees, 125
F.3d 261, 263-69 (5th Cir. 1997); United States v. Ciapponi, 77 F.3d
1247, 1251 (10th Cir. 1996).
     During the plea proceeding, the undersigned observed the
appearance and responsiveness of Defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, Defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.
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       The Plea Agreement, Doc. 47, also contains an appellate waiver
provision.
                                        1
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        Prior to accepting Defendant’s plea, the undersigned addressed
Defendant personally and in open court and determined his competence
to plead.     Based on the observations of the undersigned, Defendant
understands the nature and meaning of the charges returned in the
Indictment and the consequences of the plea to Count 1 of the
Indictment.     Defendant was also addressed personally and in open court
and advised of each of the rights referred to in Rule 11 of the
Federal Rules of Criminal Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that Defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on September 11, 2017, represents the
only promises made by anyone regarding the charges in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, Defendant
may nevertheless not withdraw his guilty plea.
        Defendant confirmed the accuracy of the statement of facts
supporting the charge, which is attached to the Plea Agreement.           He
confirmed that he is pleading guilty to Count of the Indictment
because he is in fact guilty of the offense charged in that count.
The Court concludes that there is a factual basis for the plea.
        The Court concludes that Defendant’s plea of guilty to Count 1 of
the Indictment is knowingly and voluntarily made with understanding of
the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that Defendant’s guilty plea to Count
1 of the Indictment be accepted.      Decision on acceptance or rejection
of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
        In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by Defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
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Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.        Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.           28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of
Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States
v. Walters,    638 F.2d 947 (6th Cir. 1981).




Ocrtober 5, 2017                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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